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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND


 COSTAR REALTY INFORMATION, INC.,
 2 Bethesda Metro Center, 10th Floor
 Bethesda, Maryland 20814,

 and

 COSTAR GROUP, INC.,
 2 Bethesda Metro Center, 10th Floor
 Bethesda, Maryland 20814,                         Civil Action No. _________________

                 Plaintiffs,

 v.

 WAYNE MASCIA ASSOCIATES,
 3945 Freedom Cir, Suite 900
 Santa Clara, CA 95054-1223

                 Defendants.


                                             COMPLAINT


        Plaintiffs COSTAR REALTY INFORMATION, INC., a Delaware Corporation, and COSTAR

GROUP, INC., a Delaware Corporation (collectively “CoStar” or “Plaintiffs”), for their Complaint

against Defendant WAYNE MASCIA ASSOCIATES (“MASCIA”), allege as follows:

                                               PARTIES


       1.       CoStar Realty Information, Inc. is a corporation organized and existing under the laws of

the State of Delaware with its principal place of business and corporate offices located at 2 Bethesda

Metro Center, 10th Floor, Bethesda, Maryland 20814-5388.
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        2.       CoStar Group, Inc. is a corporation organized and existing under the laws of the State of

Delaware with its principal place of business and corporate offices located at 2 Bethesda Metro Center,

10th Floor, Bethesda, Maryland 20814-5388.

        3.       Defendant MASCIA is, a business of unknown corporate form whose principal place of

business is 3945 Freedom Circle, Suite 900, Santa Clara, California, 95054-1223.

                                       JURISDICTION AND VENUE

        4.       This Court has federal question jurisdiction over the action pursuant to 28 U.S.C. § 1331

as an action that arises under the laws of the United States. The Court further has exclusive federal

jurisdiction pursuant to 28 U.S.C. § 1338(a) as a case arising under the Copyright Act. This Court has

subject matter jurisdiction over CoStar’s claims for unauthorized access to computers and related claims

pursuant to 18 U.S.C. § 1030.

        5.       This Court has diversity jurisdiction over the action pursuant to 28 U.S.C. § 1332. The

controversy is between citizens of different states, and the amount in controversy exceeds $75,000,

exclusive of interest and costs. This Court has supplemental jurisdiction over Plaintiffs’ claims arising

under the laws of Maryland pursuant to 28 U.S.C. § 1367(a) because these claims are so related to

Plaintiffs’ claims under federal law that they form part of the same case or controversy and derive from

a common nucleus of operative fact.

        6.       Venue is proper in this District pursuant to 28 U.S.C. §1391 because a substantial part of

the events giving rise to the claims occurred in this District, and a substantial part of the property that is

the subject of the action is situated in this District.

        7.       Personal jurisdiction over MASCIA is proper in this District because: (a) by agreeing to

the Terms of Use for the www.costar.com website, MASCIA has consented to the jurisdiction of this



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Court; (b) MASCIA has committed tortious and other actionable acts alleged herein with foreseeable

consequences in this District, and has caused actual tortious injury in this District; and (c) MASCIA has

purposefully directed its unlawful behavior at this District by repeated electronic activity and interaction

with CoStar’s computer servers in Bethesda, MD when logging into the subscription service at the

www.costar.com website for business purposes.

                                            BACKGROUND

       8.       CoStar is a leading national commercial real estate information services provider. At

enormous effort and expense, CoStar has created state-of-the-art software technology and research

methods to develop one of the most comprehensive commercial real estate information databases

available. CoStar currently employs the services of approximately 800 trained research professionals,

including a field research force with over 120 research photographers and a fleet of over 100 specially

equipped field research vehicles, that canvass the country, building information and analysis and

photographs that are integrated into an enormous database that is updated daily.

       9.       CoStar’s photographs and the other information in CoStar’s databases are not part of a

repository of information generally available for free. CoStar licenses its information services to

businesses, including primarily commercial real estate brokers, asset managers, mortgage lenders,

investors, owners, property managers, security analysis, REIT professionals and appraisers/mortgage

underwriters.    CoStar’s information licenses, among other things, enable its licensees to find for

themselves or their customers available space for tenants, to match buyers to properties for sale, find

tenants, research brokers, locate market-related information, and to value commercial real estate sales

transactions. CoStar’s licensees can search CoStar’s database by selecting from the more than 150 fields

of information and analysis included in the file for each property to find those properties that suit their



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needs. CoStar’s licensees can search through CoStar’s information in thousands of different ways to

analyze various real estate markets, and thus access to CoStar’s database greatly reduces the need for

CoStar’s licensees to spend money on conducting research to locate much of the very same information

already collected, organized, developed and analyzed by CoStar.

       10.      With the exception of a very limited amount of its information services CoStar makes

available for no charge on the Internet at http://www.CoStar.com, access to CoStar’s information

services is offered only to authorized users. Interested members of the general public can become

authorized users either (a) by entering into an online agreement for ad hoc access and use, or (b) by

entering into a written license agreement and subscribing to one or more of CoStar’s information

services.

       11.      Access to CoStar’s subscription information services and their associated databases is

limited to those authorized users who gain authorization solely pursuant to written license agreements,

which limit their access and use of CoStar’s databases to specific numbers of licensed users and licensed

sites. Licensed users are limited to employees of the licensee, or independent contractors working out of

the licensed site and exclusively for the licensee.

       12.      Once a party executes a license agreement with CoStar, each of its authorized users is

provided with a user identification and password and is given authorized use for Internet-based access to

CoStar’s subscription information services within the terms of the user’s specific license. An authorized

user must input a valid user identification and password at the “Subscriber Login Area” to gain

authorized access to CoStar’s restricted access information services for which they are licensed. The

Subscriber Login Area contains prominent notices advising the user on each occasion of their use. “By

logging in you are agreeing to CoStar’s terms of use.” and “Access restricted to licensed users. Sharing



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of passwords is prohibited.” The authorized user must scroll through and “accept” the applicable online

Terms of Use the first time they use the product as well as at periodic intervals thereafter. Furthermore,

a warning appears at the bottom of the homepage that reads: “By using this site, you agree to our Terms

of Use.” Here too, by clicking on the underlined phrase, the user can view the terms of use.

       13.     The Terms of Use provide:

               By accessing or using this Site (or any part thereof), you agree to be
               legally bound by the terms and conditions that follow (the “Terms of
               Use”) as we may modify them from time to time. These Terms of Use
               apply to your use of this Site, including the CoStar services and products
               offered via the Site. They constitute a legal contract between you and
               CoStar, and by accessing or using any part of the Site you represent
               and warrant that you have the right, power and authority to agree to
               and be bound by these Terms of Use. If you do not agree to the Terms
               of Use, or if you do not have the right, power, and authority to agree to
               and be bound by these Terms of Use, you may not use the Site. (emphasis
               added).

       14.     In addition, the Terms of Use specifically note that “[p]ortions of the [website] are

available only to individuals or entities who purchase a subscription (‘Subscribers’) and who, as

specified in these Terms of Use and/or in the associated written license agreement between the

Subscriber and CoStar that authorizes use of the information or product(s) (the ‘License Agreement’),

are Authorized Users (as defined below) under such a subscription.”

       15.     Under the header “Prohibited Uses,” the Terms of Use provide that “you shall not ...

[a]ccess any portion of the [databases] unless you are an Authorized User for such [databases] using the

Passcodes assigned to you by CoStar to access the components and services of the [databases] that your

subscription authorizes you to access, subject to the terms contained therein and in these Terms of Use.”

       16.     The Terms of Use also state that “[u]pon your breach of any term of these Terms of Use

or the License Agreement, CoStar’s remedies shall include any monetary benefits that accrued to you as




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a result of the breach, any damages incurred by CoStar related to your breach and any other damages

and relief available at law or in equity.” The terms of use further provide that “CoStar shall be entitled

to recover all costs, including attorney’s fees.”

       17.     Finally, the Terms of Use provide that the user “irrevocably consent[s] to the exclusive

jurisdiction of the federal and state courts located in the State of Maryland for any action to enforce

these Terms of Use.”

                             EVENTS GIVING RISE TO THE LAWSUIT

       18.     A California company (“CUSTOMER”) signed a License Agreement with CoStar in

September 2007 for access to the CoStar PROPERTY® commercial real estate information database and

related software for the San Francisco, Oakland (East Bay), and San Jose markets.

       19.     Under Sections 1, 2 and 12 of CUSTOMER’s License Agreement with CoStar,

CUSTOMER agreed, among other things: (a) not to provide third parties with access to or use of the

CoStar database service, (b) not to sub-license or resell CoStar’s information services to others, (c) not

to share the CUSTOMER-specific IDs and passwords assigned by CoStar, and (d) not to store, copy or

export any portion of the licensed CoStar database service into any database or other software program,

except as explicitly permitted by the CoStar-Resource License Agreement or by express written consent

of CoStar.

       20.     In violation of these provisions in CUSTOMER’s License Agreement with CoStar,

MASCIA obtained user names and passwords attributed to CUSTOMER and then used such user names

and passwords improperly to access and use CoStar’s commercial real estate information subscription

services for MASCIA’s commercial purposes without authorization from CoStar. As a result of its illicit

access to CUSTOMER’s license, MASCIA did not acquire a valid license from CoStar.



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       21.     By gaining unauthorized access to CoStar’s products, MASCIA was able to make

unauthorized copies and displays of CoStar’s copyrighted databases and copyrighted photographs.

                                          COUNT I
                               BREACH OF CONTRACT BY MASCIA

       22.     CoStar re-alleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 22 of the Complaint.

       23.     By accessing CoStar’s Internet website, MASCIA agreed to be bound by the terms of use

agreement of CoStar’s website. CoStar’s website terms of use agreement is a valid contract.

       24.     MASCIA breached the terms of use agreement by, inter alia, accessing and using the

CoStar databases without authorization from CoStar.

       25.     CoStar has been injured by MASCIA’s breaches as described above. Among other

things, MASCIA’s breach of contract has caused CoStar to lose the license fee revenue associated with

granting it licenses to CoStar products. Some of CoStar’s injury as a result of MASCIA’s breaches

resulted in damages to CoStar in an amount to be proven at trial. CoStar will not have an adequate

remedy at law for its entire injury, however, as some of its injury is irreparable. Accordingly, CoStar is

entitled to damages and injunctive relief.

                                        COUNT II
                           COPYRIGHT INFRINGEMENT BY MASCIA

       26.     CoStar realleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 22 of the Complaint.

       27.     CoStar owns valid copyrights in the compilations of data, information, and original

content that form its databases of commercial real estate property information. CoStar has registered its

copyrights in those compilations with the United States Copyright Office on a regular basis.




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          28.   CoStar also owns valid copyrights in millions of commercial real estate photographs

taken by CoStar photographers. CoStar has registered the vast majority of those photographs with the

United States Copyright Office on a quarterly basis.

          29.   By virtue of its unauthorized access to CoStar’s products, MASCIA has been able to

engage in infringement of CoStar’s copyrights in its database compilations, including by reproducing,

distributing and/or displaying original and protectable expression covered by CoStar’s compilation

copyrights.

          30.   By virtue of its unauthorized access to CoStar’s products, MASCIA has been able to

infringe CoStar’s copyrights in its commercial real estate photographs, including by reproducing,

distributing and/or displaying such photographs. Upon information and belief, MASCIA has infringed

CoStar’s copyrights in hundreds, if not thousands of photographs. A set of 119 examples of these

photographs, as well as the copyright registrations corresponding to such photographs, are attached

hereto as Exhibit A.

          31.   MASCIA’s infringement of CoStar’s copyrights was willful and with notice of CoStar’s

copyrights in its database compilations and its photographs.

          32.   Because CoStar registered its copyrights in the database compilations and commercial

real estate photographs infringed by MASCIA’s prior to its infringement and/or within three months of

the publication of such copyrighted works, CoStar is entitled to an award of statutory damages of no less

than $750 and up to $150,000 per work, as well as the attorney’s fees and costs of prosecuting this

action.     Based on a minimum of 119 copyrights infringed, CoStar’s statutory damages should be

assessed at up to $17,850,000.




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       33.     As a result of MASCIA’s infringement, CoStar has suffered an injury for which there is

no adequate remedy at law and that requires injunctive relief.

                                 COUNT III
                    VIOLATION BY MASCIA OF § 18 U.S.C. 1030:
         FRAUD AND RELATED ACTIVITY IN CONNECTION WITH COMPUTERS

       34.     CoStar realleges and incorporates herein by reference the allegations contained in

Paragraphs 1 through 22 of the Complaint.

       35.     The computer system on which CoStar’s databases reside is a computer used in interstate

commerce or communication, and is thus a protected computer under 18 U.S.C. § 1030.

       36.     When MASCIA accessed the password-protected portions of the CoStar Internet website,

MASCIA intentionally accessed a protected computer without authorization.

       37.     MASCIA’s unauthorized access of a protected computer has caused damage to CoStar

that has amounted in an aggregated loss of over $5,000 during a one-year period.

       38.     MASCIA’s conduct has harmed and will continue to harm CoStar. As a result, CoStar

has suffered and will continue to suffer losses, damages, and irreparable injury, in amounts not yet

ascertained. CoStar’s remedy at law is not itself adequate to compensate it for injuries inflicted by

MASCIA. Accordingly, CoStar is entitled to damages and injunctive relief.

       39.


                                       PRAYER FOR RELIEF


        WHEREFORE, CoStar asks that this Court:

       (1)     Enter a judgment against MASCIA that they have breached their contracts with CoStar;




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       (2)     Grant a preliminary and permanent injunction (a) restraining and enjoining Defendant

and any of its principals, officers, agents, servants, employees, attorneys, successors and assigns, and all

persons in active concert or participation with them, from (i) making any unauthorized access to or use

of any CoStar database service, (ii) interfering with CoStar’s current or prospective contracts pertaining

to use and access of any CoStar’s database, and (iii) assisting, aiding, or abetting any other person or

business entity in engaging in or performing any of the activities referred to in subparagraphs (i) through

(ii) above; and (b) ordering Defendant and any of its principals, officers, agents, servants, employees,

attorneys, successors and assigns, and all persons in active concert or participation with Defendant, to

permanently delete and destroy all portions of any CoStar database service within their possession, and

within ten (10) days provide CoStar with a signed affidavit certifying completion of such

deletion/destruction;

       (3)     Enter judgment against Defendant and in favor of CoStar for disgorgement of any

amounts by which they was unjustly enriched;

       (4)     Enter judgment against Defendant and in favor of CoStar for compensatory damages;

       (5)     For an award of statutory damages of no less than $150,000 per copyrighted work as a

result of Defendants’ willful infringement of CoStar’s copyrights.

       (6)     For an award of the costs of this action, including reasonable attorneys’ fees, pursuant to

17 U.S.C. § 505 and other applicable laws.

       (6)     Enter judgment against Defendants and in favor of CoStar for prejudgment interest, costs

and attorneys’ fees; and




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(7)   Grant CoStar such other and further relief as is just.


Dated: August 28, 2008                               Respectfully submitted,



                                                    /s/
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